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 8                                 UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                      CASE NO. 2:18-CR-00010-TLN
12                                Plaintiff,        STIPULATION REGARDING EXCLUDABLE
                                                    TIME PERIODS UNDER SPEEDY TRIAL
13                           v.                     ACT; FINDINGS AND ORDER
14   REGINALD PAJIMOLA,                             DATE: November 14, 2019
                                                    TIME: 9:30 a.m.
15                                Defendant.        COURT: Hon. Troy L. Nunley
16

17                                             STIPULATION

18         1.     By previous order, this matter was set for status on November 14, 2019.

19         2.     By this stipulation, the defendant now moves to continue the status

20 conference until January 9, 2020, at 9:30 a.m., and to exclude time between November 14,

21 2019, and January 9, 2020, under Local Code T4.

22         3.     The parties agree and stipulate, and request that the Court find the

23 following:

24                a)      The government has represented that the discovery associated with

25         this case includes over 14,000 pages and several hours of recorded telephone

26         conversations. All of this discovery has been produced directly to counsel.

27                b)      Defense counsel desires additional time to review the discovery,

28         conduct research into the case, to discuss the case with her client, and otherwise


      STIPULATION REGARDING EXCLUDABLE TIME         1
      PERIODS UNDER SPEEDY TRIAL ACT
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 1        prepare for trial in this matter.

 2               c)      Counsel for defendant believes that failure to grant the above-

 3        requested continuance would deny her the reasonable time necessary for effective

 4        preparation, taking into account the exercise of due diligence.

 5               d)      The government does not object to the continuance.

 6               e)      Based on the above-stated findings, the ends of justice served by

 7        continuing the case as requested outweigh the interest of the public and the

 8        defendant in a trial within the original date prescribed by the Speedy Trial Act.

 9               f)      For the purpose of computing time under the Speedy Trial Act, 18

10        U.S.C. § 3161, et seq., within which trial must commence, the time period of

11        November 14, 2019, to January 9, 2020, inclusive, is deemed excludable pursuant to

12        18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results from a

13        continuance granted by the Court at defendant’s request on the basis of the Court’s

14        finding that the ends of justice served by taking such action outweigh the best

15        interest of the public and the defendant in a speedy trial.

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     STIPULATION REGARDING EXCLUDABLE TIME        2
     PERIODS UNDER SPEEDY TRIAL ACT
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1         4.     Nothing in this stipulation and order shall preclude a finding that other

2 provisions of the Speedy Trial Act dictate that additional time periods are excludable from

3 the period within which a trial must commence.

4         IT IS SO STIPULATED.

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6    Dated: November 12, 2019                        MCGREGOR W. SCOTT
                                                     United States Attorney
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8                                                    /s/ JUSTIN L. LEE
                                                     JUSTIN L. LEE
9                                                    Assistant United States Attorney
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11
     Dated: November 12, 2019                        /s/ CANDICE FIELDS
12                                                   CANDICE FIELDS
                                                     (as authorized on November 12, 2019)
13                                                   Counsel for Defendant
                                                     Reginald Pajimola
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                                      FINDINGS AND ORDER
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          IT IS SO FOUND AND ORDERED this 12th day of November, 2019.
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                                                      Troy L. Nunley
22                                                    United States District Judge
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     STIPULATION REGARDING EXCLUDABLE TIME       3
     PERIODS UNDER SPEEDY TRIAL ACT
